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                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF VIRGINIA
                                   RICHMOND DIVISION

IN RE: MULTIPLE CASES ~ SEE ATTACHED LIST

                             NOTICE OF WITHDRAWAL
                     OF ATTORNEY FROM CASE REPRESENTATION

        PLEASE TAKE NOTICE THAT as of August 22, 2013, Keith L. Phillips is hereby

withdrawn as counsel of record in said cases. Notices of Appearance were previously filed on

behalf of Abigail S. Phillips.

                                              PHILLIPS & FLECKENSTEIN, PC


                                              By:     /s/Keith L. Phillips
                                                              Counsel

Keith L. Phillips VSB No. 18596
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Richmond, VA 23220
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Telecopy: (804) 358-9089
keith@pf-law.com


                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 22nd day of August 2013, a true copy of the foregoing Notice
of Withdrawal of Attorney from Case Representation was sent via electronic delivery and/or
first-class mail, postage prepaid to all parties in interest who receive electronic delivery from the
Court of notices in these cases.


                                               /s/Keith L. Phillips
                                                             Counsel




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                                RELATED CASES



Case No. 07-34310-DOT   Sharon Denise Prine

Case No. 08-36343-DOT   Deborah Virginia Garland

Case No. 08-30476-DOT   George Randolph Rucker

Case No. 09-36697-KRH   Douglas Kent Manning

Case No. 12-32470-DOT   Linda Zeris Caruthers

Case No. 10-37232-KRH   David Harold Allen

Case No. 08-34199-KRH   Donald John Becker

Case No. 10-37875-KRH   John Edward Small, Jr.

Case No. 08-36706-DOT   George Robert Wagenknecht

Case No. 11-33779-DOT   Amy J. Moshirghafferi

Case No. 12-30825-KRH   Anna Marie Konrad

Case No. 10-33508-KRH   Robert Francis Brown and Jill Elaine Brown

Case No. 08-35994-KRH   LandAmerica Financial Group, Inc.

Case No. 11-30602-KRH   Finis D. Garrett

Case No. 12-37107-DOT   Creative Energy Corp of Richmond

Case No. 12-36761-KRH   Old River Cabinets, Inc.

Case No. 10-35599-DOT   Barton Cheves Pasco, Sr. and Bettie Lee Slate Pasco

Case No. 10-38223-KRH   River City Cleaners, LLC

Case No. 10-37538-KRH   Julius Everette Johnson

Case No. 09-32078-DOT   Rockwood Square, LLC

Case No. 09-33422-DOT   Jefferson Townhouse Corporation



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Case No. 08-35150-DOT   Louis Mark Swann

Case No. 11-30381-KRH   Commonwealth Biotechnologies, Inc.

Case No. 10-38452-KRH   Gerard Leroy Cooney




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